         Case 1:18-cv-12105-LTS Document 11 Filed 10/31/18 Page 1 of 2



                         THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                        )
FACULTY, ALUMNI, AND STUDENTS )
OPPOSED TO RACIAL PREFERENCES )
                                        )
                      Plaintiff,        )
                                        )
v.                                      )   Civil Action No. 1:18-cv-12105-LTS
                                        )
HARVARD LAW REVIEW; HARVARD )
LAW SCHOOL; PRESIDENT AND               )
FELLOWS OF HARVARD COLLEGE;             )
and BETSY DeVOS, in her official        )
capacity as U.S. Secretary of Education )
                                        )
                      Defendants.       )
____________________________________)

                                 NOTICE OF APPEARANCE

       To the Clerk of the Court and all parties of record:

       Please enter the appearance of Cristen C. Handley as counsel for defendant Betsy DeVos,

in her official capacity as U.S. Secretary of Education, in this matter. All future correspondence

and other communications regarding this matter should be directed to Ms. Handley at the address

and phone number below.



Dated: October 31, 2018                      Respectfully submitted,

                                             /s/ Cristen C. Handley
                                             Cristen C. Handley (MO Bar 69114)
                                             Trial Attorney, Federal Programs Branch
                                             U.S. Department of Justice, Civil Division
                                             1100 L Street NW
                                             Washington, DC 20005
                                             Tel.: (202) 305-2677
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                                             Counsel for Defendant Secretary DeVos
          Case 1:18-cv-12105-LTS Document 11 Filed 10/31/18 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I certify that this document(s) filed through the ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants, if any.



Dated: October 31, 2018                                Respectfully submitted,

                                                       /s/ Cristen C. Handley
                                                       CRISTEN C. HANDLEY




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